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12 James and Deborah Mitchell
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
   James Mitchell and                      Case No.: 2:17-cv-02459-DLR
16 Deborah Mitchell,
17
                   Plaintiffs,
18        vs.                                    NOTICE OF SETTLEMENT
19
   Granite Creditors Service, Inc. and
20 Steven A. Wright,
21
                   Defendants.
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26
          NOTICE IS HEREBY GIVEN that Plaintiffs and Defendants, Granite Creditors
27
28 Service, Inc. and Steven A. Wright, in the above-captioned case have reached a
                                             1
       Case 2:17-cv-02459-DLR Document 27 Filed 03/20/18 Page 2 of 2



1 settlement. The parties anticipate filing a Stipulation of Dismissal with Prejudice as to
2
  Defendants Granite Creditors Service, Inc. and Steven A. Wright, pursuant to Fed. R.
3
4 Civ. P. 41(a) within 60 days.
5        RESPECTFULLY SUBMITTED this 20th day of March, 2018.
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7
8
                                              KENT LAW OFFICES
9
10
11                                            By: /s/ Trinette G. Kent
12                                            Trinette G. Kent
                                              Attorney for Plaintiff,
13                                            James Mitchell and Deborah Mitchell
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